  Case: 4:19-cr-00116-CDP Doc. #: 39 Filed: 06/11/19 Page: 1 of 1 PageID #: 70




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
           Plaintiff,                      )
                                           )
      v.                                   )         Case No. 4:19 CR 116 CDP
                                           )
KENNETH A. GROOMS, II,                     )
                                           )
           Defendant.                      )

                                      ORDER

      IT IS HEREBY ORDERED that this case is set for jury trial on Monday,

July 8, 2019 at 8:30 a.m. in Courtroom 14 South.

      IT IS FURTHER ORDERED that a final pretrial hearing will be held on

Tuesday, July 2, 2019 at 3:30 p.m. in Courtroom 14-South. At that hearing the

parties will be expected to discuss the length of the trial and any evidentiary or

other issues that may arise during trial, and to make a record of any plea offers that

may have been made by the government and rejected by defendant as discussed in

Missouri v. Frye, 566 U.S. 133, 145-47 (2012).




                                           _________________________________
                                           CATHERINE D. PERRY
                                           UNITED STATES DISTRICT JUDGE

Dated this 11th day of June, 2019.
